                                                            Case 2:19-cv-02850-DMG-JC Document 17 Filed 06/20/19 Page 1 of 3 Page ID #:52




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                                                                 5

                                                                 6   Attorneys for Plaintiff TEXKHAN, INC., a California Corporation,
                                                                     dba HYUP SUNG T.R.D.
                                                                 7

                                                                 8
                                                                                         UNITED STATES DISTRICT COURT
                                                                 9
                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                10

                                                                11   TEXKHAN, INC., a California         )   Case No. 2:19-cv-02850-DMG-JC
                                                                                                         )
                                                                     Corporation, individually and doing )   Honorable Dolly M. Gee
LAW OFFICES OF ALBERT CHANG




                                                                12
                                                                                                         )
                              1225 W. 190th Street, Suite 420




                                                                     business as HYUP SUNG T.R.D.,
                                Gardena, California 90248




                                                                13                Plaintiff,             )
                                                                                                         )
                                     (310) 769-6836




                                                                14
                                                                                                         )   PROOF OF SERVICE OF
                                                                            vs.                          )   COMPLAINT ON DEFENDANT
                                                                15
                                                                                                         )
                                                                                                         )   PROMGIRL, LLC D/B/A
                                                                16   EN CREME, an unknown business       )   THISGIRL
                                                                                                         )
                                                                     entity; POSHMARK, INC., a Delaware )
                                                                17
                                                                     Corporation, doing business as      )
                                                                18   POSHMARK; PROMGIRL, LLC, a          )
                                                                                                         )
                                                                19
                                                                     New York Limited Liability Company, )
                                                                     doing business as THISGIRL; and     )
                                                                20
                                                                                                         )
                                                                     DOES 1 through 50,                  )
                                                                                                         )
                                                                21               Defendants.             )
                                                                                                         )
                                                                22   ________________________________
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                                                                                       PROOF OF SERVICE OF COMPLAINT ON
                                                                                     DEFENDANT PROMGIRL, LLC D/B/A THISGIRL
                                                                                                      -1-
           Case 2:19-cv-02850-DMG-JC Document 17 Filed 06/20/19 Page 2 of 3 Page ID #:53
   ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State, Bar number, and address):                                                   FOR COURT USE ONLY
   Law Offices of Albert Chang
   1225 W. 190th Street Suite 420
   Gardena, CA 90248
              TELEPHONE NO.: 310-769-6836                    FAX NO. (Optional):
   E-MAIL ADDRESS (Optional):
       ATTORNEY FOR (Name): TEXKHAN, INC., A CALIFORNIA CORPORATION, INDIVIDUALLY AND DOING BUSINESS AS
                            HYUP SUNG T.R.D.
  United States District Court, Central District of California
           STREET ADDRESS:            312 North Spring St.
           MAILING ADDRESS:           312 North Spring St.
          CITY AND ZIP CODE:          Los Angeles 90012
               BRANCH NAME:

                                           TEXKHAN, INC., A CALIFORNIA CORPORATION, INDIVIDUALLY AND        CASE NUMBER:
       PLAINTIFF/PETITIONER: DOING BUSINESS AS HYUP SUNG T.R.D.

DEFENDANT/RESPONDENT: EN CREME, AN UNKNOWN BUSINESS ENTITY; ET AL                                                              2:19-CV-02850
                                                                                                            Ref. No. or File No.:
                                      PROOF OF SERVICE OF SUMMONS                                                      2:19-cv-02850-DMG-JC

1. At the time of service I was at least 18 years of age and not a party to this action.




                                                                                                                                                                    BY FAX
2. I served copies of (specify documents):
   SUMMONS IN A CIVIL ACTION; COMPLAINT FOR: 1. COPYRIGHT INFRINGEMENT 2. VICARIOUS AND/OR
   CONTRIBUTORY COPYRIGHT INFRINGEMENT; NOTICE OF INTERESTED PARTIES,CIVIL COVER SHEET,REPORT ON
   THE FILING OR DETERMINATION OF AN ACTION OR APPEAL REGARDING A COPYRIGHT,NOTICE OF ASSIGNMENT
   TO UNITED STATES JUDGES,NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM,NOTICE TO PARTIES:
   COURT POLICY ON SETTLEMENT AND USE OF ALTERNATIVE DISPUTE RESOLUTION (ADR),INITIAL STANDING
   ORDER
3. a. Party served (specify name of party as shown on documents served):
             PROMGIRL, LLC, A NEW YORK LIMITED LIABILITY COMPANY, DOING BUSINESS AS THIRGIRL

    b.      X         Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                      item 5b whom substituted service was made) (specify name and relationship to the party named in item 3a ):
                      Christina Gallo , SENIOR MANAGER, PERSON AUTHORIZED TO ACCEPT, who accepted service, with identity
                      confirmed by subject stating their name, a white female approx. 35-45 years of age, 5'4"-5'6" tall, weighing 120-
                      140 lbs with black hair. glass door, white office

4. Address where the party was served:
             1441 BROADWAY, 21ST FLOOR, NEW YORK, NY 10018

5. I served the party (check proper box)
   a. X       by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
              service of process for the party (1) on (date): 06/18/2019 at (time): 3:34 PM

    b.                by substituted service. On (date):                     at (time):                  I left the documents listed in item 2 with
                      or in the presence of (name and title or relationship to person indicated in item 3):

                      (1)               (business) a person at least 18 years of age apparently in charge at the office or usual place of business of
                                        the person to be served. I informed him or her of the general nature of the papers.

                      (2)               (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place
                                        of abode of the party. I informed him or her of the general nature of the papers.

                      (3)               (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                        address of the person to be served, other than a United States Postal Service post office box. I informed him
                                        or her of the general nature of the papers.

                      (4)               I thereafter caused to be mailed (by first class, postage prepaid) copies of the documents to the person to be
                                        served at the place where the copies were left (Code Civ. Proc § 415.20). Documents were mailed
                                        on (date):             from (city):                          or      a declaration of mailing is attached.

                      (5)               I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                             Page 1 of 2
Form Adopted for Mandatory Use                                                                                                          Code of Civil Procedure. § 417.10
Judicial Council of California POS-
010 [Rev. January 1, 2007]                                     PROOF OF SERVICE OF SUMMONS                                            Tracking #: 0038679036

              REF: 2:19-cv-02850-DMG-JC
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   PLAINTIFF/PETITIONER: TEXKHAN, INC., A CALIFORNIA CORPORATION, INDIVIDUALLY                            CASE NUMBER:
                         AND DOING BUSINESS AS HYUP SUNG T.R.D.                                                          2:19-CV-02850
DEFENDANT/RESPONDENT: EN CREME, AN UNKNOWN BUSINESS ENTITY; ET AL


     c.              by mail and acknowledgement of receipt of service. I mailed the documents listed in item 2 to the party, to the
                     address shown in item 4, by first-class mail, postage prepaid,

                     (1) on (date):                                               (2) from (city):
                     (3)                with two copies of the Notice and Acknowledgement of Receipt and a postage-paid return envelope
                                        addressed to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30)
                     (4)                to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40)

     d.              by other means (specify means of service and authorizing code section):

                     Additional page describing service is attached.

6. The “Notice to the Person Served” (on the summons) was completed as follows:
     a.              as an individual defendant.

     b.              as the person sued under the fictitious name of (specify):

     c.              as occupant.

     d.    X         On behalf of (specify) PROMGIRL, LLC, A NEW YORK LIMITED LIABILITY COMPANY, DOING BUSINESS AS
                     under the following Code of Civil Procedure section:
                                    X      416.10 (corporation)                                      415.95 (business organization, form unknown)
                                           416.20 (defunct corporation)                              416.60 (minor)
                                           416.30 (joint stock company/association)                  416.70 (ward or conservatee)
                                           416.40 (association or partnership)                       416.90 (authorized person)
                                           416.50 (public entity)                                    415.46 (occupant)
                                                                                                     other:
7. Person who served papers
     a.   Name:                               Thomas G Russo
     b.   Address:                            147 Prince St., Suite 4-6, Brooklyn, NY 11201
     c.   Telephone number:                   718-560-1062
     d.   The fee for service was:            $ 75.00
     e.   I am:




                                                                                                                                                      BY FAX
          (1)   X          not a registered California process server.
          (2)              exempt from registration under Business and Professions Code section 22350(b).
          (3)              registered California process server:
                           (i)            owner           employee           independent contractor.     For:
                           (ii)           Registration No.:                                              Registration #:
                           (iii)          County:                                                        County:

8.    X         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                or
9.              I am a California sheriff or marshal and I certify that the foregoing is true and correct.

          6/18/19
Date: _______________


                                   Thomas G Russo
          (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                    (SIGNATURE)




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                                                              PROOF OF SERVICE OF SUMMONS                                        Tracking #: 0038679036
            REF: 2:19-cv-02850-DMG-JC
